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 1    RENE L. VALLADARES
      Federal Public Defender
 2    State Bar No. 11479
      BRENDA WEKSLER
 3    Assistant Federal Public Defender
      411 E. Bonneville Avenue, Suite 250
 4    Las Vegas, Nevada 89101
      (702) 388-6577
 5    (Fax) 388-6261
 6    Attorneys for WILLIAM C. THOMPSON

 7                                   UNITED STATES DISTRICT COURT

 8                                           DISTRICT OF NEVADA
 9

10     UNITED STATES OF AMERICA,                             2:13-CR-368-JAD-VCF

11                             Plaintiff,                    UNOPPOSED MOTION TO
                                                             WITHDRAW MOTION PREVIOUSLY
12     vs.                                                   FILED AND VACATE HEARING
                                                             CURRENTLY SET FOR APRIL 16, 2015
13     WILLIAM C. THOMPSON,

14                             Defendant.

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                      COMES NOW, Rene L. Valladares, Federal Public Defender, and Brenda Weksler,
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      Assistant Federal Public Defender, attorney of record for Defendant WILLIAM C. THOMPSON,
17
      moves the Court to Withdraw the Motion Previously Filed and Vacate Hearing Currently Set for
18
      April 16, 2015.         This Motion is brought before the Court pursuant to all the Pleadings and
19
      Papers currently on file in the case, as well as any further representations of counsel of client as the
20
      Court may request of the Parties.
21
                      DATED April 15, 2015
22
                                                               RENE L. VALLADARES
23                                                             Federal Public Defender

24
                                                          By      /s/ Brenda Weksler
25                                                             BRENDA WEKSLER
                                                               Assistant Federal Public Defender
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 2         UNOPPOSED MOTION TO WITHDRAW MOTION PREVIOUSLY FILED AND

 3                   VACATE HEARING CURRENTLY SET FOR APRIL 16, 2015

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 5                   At the request of the undersigned, this Court currently has a hearing scheduled for

 6    April 16, 2015 at 3:00 p.m., to determine whether the defendant, William Thompson (Thompson)

 7    should be appointed new counsel. Thompson has related to undersigned that he does not want new

 8    counsel appointed. As a result, undersigned moves to withdraw the previously filed motion and to

 9    vacate the hearing currently set for April 16, 2015 at 3:00 p.m.

10
11                   DATED April 15, 2015

12                                                            Respectfully submitted,

13                                                            RENE L. VALLADARES
                                                              Federal Public Defender
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15                                                       By     /s/ Brenda Weksler
                                                              BRENDA WEKSLER
16                                                            Assistant Federal Public Defender

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                                     April 15, 2015
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 1
                              CERTIFICATE OF ELECTRONIC SERVICE
 2
                     The undersigned hereby certifies that I am an employee of the Federal Public
 3
      Defender for the District of Nevada and am a person of such age and discretion as to be competent
 4
      to serve papers.
 5
                     That on April 15, 2015, I served an electronic copy of the above and foregoing
 6
      UNOPPOSED MOTION TO WITHDRAW MOTION PREVIOUSLY FILED AND VACATE
 7
      HEARING CURRENTLY SET FOR APRIL 16, 2015 by electronic service (ECF) to the persons
 8
      named below:
 9
                            DANIEL G. BOGDEN
10                          United States Attorney
                            LISA CARTIER-GIROUX
11                          Assistant United States Attorney
                            333 Las Vegas Blvd. So., 5th Floor
12                          Las Vegas, Nevada 89101

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15                                                  /s/ Nancy Vasquez, Legal Secretary
                                                  Employee of the Federal Public Defender
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